                               Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 1 of 45


        SHERIFF'S ENTRY OF SERVICE                                                SC-85-2
        Civil Action No.          21-C-00553-S4                                                       Superior Court       ❑          Magistrate Court              ❑
                                                                                                      State Court.        'rd         Probate Court                 ❑
        Date Filed             January 25, 2021                                                       Juvenile Court       ❑
                                                                                                      Georgia,     Gwinnett                     COUNTY

        Attomey's Address
                                                                                                       Tamara Geathers Webb
       Sarah E. Hendrickson
                                                                                                                                                            Plaintiff
       Kenneth S. Nugent, P.C.
        4227 Pleasant Hill Rd, Bldg 11                                                                                          vs.
        Duluth, GA 30096                                                                               The Cheesecake Factory Restaurants, Inc.
        Name and Address of Party to be Served

        The Cheesecake Factory Restaurants, Inc.                                                                                                         Defendant
        by and through its RA: Corporation Service Company

        40 Technology Pkwy South, Suite 300, Norcross, GA 30092
                                                                                                                                                         Garnishee
                                                                            SHERIFF'S ENTRY OF SERVICE


  z               1bave this day served the defendant                                                                                             personally tvith a copy
  orp             of the wit}tin action and surnmons.
  a



                  I have thi.s day served the defendant                                                                                                       by leavin~l a
   n
  p               copy of the actiou and summons at his most notorious place of abode in this County.

                  Delivered sante into hands of                                                                                                      described as follows
r~ 0
   z              age, about         years: weight, ubout                   pounds; height, abotut             Feet and         incl.:es, domiciled at the residence of
                  defendant.


  z
  p           ;                                   t.                  '
                  Served the defcndant            ' '. ''' •' % t -' ; ` f~ , ; '. -• t   ~:   i`; .                                                         a corporation

  0
        ~ ~
         ',E1
            -..    by lea~•ing a copy of tlte witliin action and summons with                    y,
  Q     ~ ~in charge of the offiee and place of cloing business of saici Corporation in d7is Cotmty.
  v

  ~
       I have ttiis clay served the above stylecl affidavit <tn(I summons on the defendttnt(s) by posting a copy of the same to the door of thc. premises
   ~ ❑ designated in said aflidavit. and on the same day of such posting by depositinb a true copy of same in chc Uniled States NIaiI, I irst Class in
   ~4  an envelope properly addressed to the deferidant(s) at the address shovvn in saicl summons, with adequate postage affixed thereon containing
   u   notice to the defendant(s) to answer said sutninons at fhe place stated 'nt die summons.


  E"
   ~ ❑ Diligent scarch made and defendant
  z    not to be foand in the jurisdiction of this Court.


         Th.is                  day ot'   ~
                                                                       ,r
                                                                   ,


                                                                                                                                                           DEI'U'I'Y


         SHERIFF DOCKE'I'                               PAGE ~
         WHirE-CLERK eANARY-PLAINTIFF      PINK-DEFENDANT
                                                                                                                                 ARCO IDEAS & DESIGN, INC. (770)38b-2799
                   Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 2 of 45                     CLERK OF STATE COUF
,
                                                                                                   GWINNETT COUNTY, GEORGI
    '                                                                                                       21-C-00553-S
                                                                                                         1/25/20 1 1:47 PI

                               IN THE STATE COURT OF GWINNETT COUNTY                          G4~~ ~
                                                                                                        CLERK OF STATE COUF
                                          STATE OF GEORGIA

        TAMARA GEATHERS WEBB,                             .

                  Plaintiff,                              .
                                                          .           CIVIL ACTION FILE NO.: 21-C-00553-S4
        V.                                                .

        THE CHEESECAKE FACTORY                            .
        RESTAURANTS, INC.                                 .

                  Defendant.                              .

                                          COMPLAINT FOR DAMAGES

                  COMES NOW TAMARA GEATHERS WEBB, Plaintiff in the above-styled action, by

        and through her counsel of record, and files this Complaint for Damages against THE

        CHEESECAKE FACTORY RESTAURANTS, INC., Defendant, and shows the Court as follows.

                                          PARTIES AND JURISDICTION

                                                           1.

                  The Plaintiff is a resident of the State of Georgia and has been a resident of the State of

        Georgia at all times relevant to this case.

                                                           2.

                  The Defendant THE CHEESECAKE FACTORY RESTAURANTS, INC., (hereinafter

        referred to as "Defendant"), is a Foreign Profit corporation and may be served with a copy of this

        Complaint through its registered agent, Corporation Service Company, at 40 Technology Parkway

        South, Suite 300, Norcross, Gwinnett County, Georgia 30092, and is therefore subject to the

        jurisdiction of this court.

                                                           '91

                  Plaintiff submits herself to the jurisdiction of this Court for all matters arising from this

        action.
          Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 3 of 45




                                                   4

         Venue and jurisdiction are proper in this Court.



                                      SUMMARY OF FACTS

                                                   5.

         This is a negligence action brought by Plaintiff to recover for all damages suffered as a

result of injuries sustained upon the premises of the Cheesecake Factory Restaurant (hereinafter

referred to as "Restaurant"), located at 3393 Peachtree Road NE, Suite 3076A, Atlanta, Georgia

30326.

                                                   rei

         On or about June 13, 2019, Plaintiff was a business invitee of the Cheesecake Factory

Restaurant, located at 3393 Peachtree Road NE, Suite 3076A, Atlanta, Georgia 30326.

                                                   7.

         While a business invitee on the premises, the Plaintiff sat down on a barstool.



         One of the waiters was serving Plaintiff's food and was coming from behind while Plaintiff

was sitting on a barstool.

                                                   9.

         Plaintiff attempted to move out of the waiter's way and moved the barstool about half an

inch forward. Suddenly, the barstool gave way on the slick floor and fell down.

                                                  10.

         As a result, Plaintiff fell with a significant force on a cement floor with a high gloss finish

and injured her neck, buttocks, right hand and left elbow.


                                                   PA
         Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 4 of 45




                                                  11.

        Plaintiff notified the manager and/or employees or agents of the Restaurant about the fall.

                                                  12.

        Defendant failed to exercise ordinary care for the protection of its invitees from the

dangerous and/or hazardous condition on their property.

                                                  13.

        Solely as a result of Defendant's failure to properly maintain and/or monitor its premises

and failure to maintain and/or inspect their floor and barstools, Plaintiff sustained serious injuries,

including but not limited to, lumbar annular tear, pain in right arm, pain in right elbow, pain in

right foot, muscle spasms, post-traumatic headaches, cervical disc bulges and herniations, lumbar

disc bulges and herniations, neuralgia and neuritis.

                                                  14.

       At all times relative to this incident, Plaintiff was exercising due care for her own safety.

                                                  15.

       At all times relative to this incident, Plaintiff conducted herself as a reasonably and

ordinarily prudent person would under the circumstances and had no knowledge of the existence

of the hazardous conditions, prior to it causing her to fall.

                                                  16.

       As a direct and proximate result of Defendant's negligence, Plaintiff sustained serious

injuries, pain and suffering, mental anguish, loss of the enjoyment of life, and other damages

including, but not limited to, past medical expenses, lost wages and future medical expenses.

                                                 17.

       But for the hazardous conditions then existent on Defendant's premises, Plaintiff would

not have fallen and suffered serious physical injuries.
                                                   3
         Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 5 of 45




                                    COUNT I - NEGLIGENCE



        Plaintiff hereby incorporates herein by reference paragraphs 1-17 of his Complaint as if

fully restated herein.

                                                 19.

        Plaintiff seeks recovery for personal injuries sustained as a direct and proximate cause of

Defendant's negligence, including the negligence of Defendant's agents and/or employees.

                                                 20.

        Plaintiff seeks recovery for loss of income as a direct and proximate cause of Defendant's

negligence, including the negligence of Defendant's agents and/or employees.

                                                 21.

        At all times relevant, Defendant owed Plaintiff a duty to exercise that degree of care

ordinarily possessed and exercised by owners, operators, and maintainers of premises open to

invitees. This duty included, but was not limited to, Defendant's obligation to provide reasonable

warning to invitees, such as Plaintiff, of the existence of hazardous conditions on its property.

                                                 22.

        On or about June 13, 2019, Defendant failed in its duty of care to Plaintiff in that it did not

adequately and reasonably provide warning to Plaintiff that its premises had hazardous conditions,

such as an unreasonably slippery floor, or otherwise a defective chair, that collapsed and caused

Plaintiff to fall.

                                                 23.

        On or about June 13, 2019, Defendant failed in its duty of care to Plaintiff in that it did not

provide warnings for its unreasonably slippery floor or did not provide proper seating in its bar

area.
                                                  m
        Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 6 of 45



                                                   24.

        As a result of the injuries Plaintiff sustained in the incident, she has incurred significant

physical and mental pain and suffering as well special damages in the amount of $41,318.00 which

is subject to being supplemented at the time of trial and is itemized as follows:

       Northside Emergency Associates                    $653.00

       Northside Radiology Associates                    $80.00

       Northside Hospital                                $2,919.00

        Family Chiropractic and Rehab Center             $8,160.00

        Georgetown Clinic                                $3,880.00

       Elite Radiology Associates                        $3,900.00

       Peachtree Orthopaedic Clinic                      $21,726.00

       Total Medicals:                                   $41,318.00

       Lost Wages:                                       $TBD

                                                   25.

       Defendant is liable for all damages recoverable under Georgia law.



       WHEREFORE, Plaintiff prays that she has judgment against Defendant as follows:

       (a)       that summons issues and service be perfected upon Defendant requiring the

Defendant to appear before this Court and answer this Complaint foY Damages;

       (b)       for general damages in an amount to be determined by the enlightened conscience

of an impartial jury;

       (c)       for special damages in an amount to be proven by evidence at trial in the amount

of $41,318.00;

       (d)       for costs and expenses of this litigation;
                                                    5
       Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 7 of 45




       (e)    for any and all other and further relief that this Court deems just and proper under

the circumstances; and

       (f)    for a trial by jury on all issues so triable.



       Respectfully submitted this 22"d day of January, 2021.


                                                       KENNETH S. NUGENT, P.C.

                                                       By:    /s/Sarah E. Hendrickson
                                                              SARAH E. HENDRICKSON
                                                              Georgia State Bar No.: 873693
                                                              JAN P. COHEN
                                                              Georgia State Bar No.: 174337
                                                              Attorneys foY Plaintiff
4227 Pleasant Hill Road
Building 11
Duluth, Georgia 30096
T: (404) 875-0900
F: (678) 957-8657
shendrickson a,attorneykennugent.com
jcohen a,attorneykennugent.com




                                                  me
                    Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 8 of 45




                                                                                                                        JWG / ALL
                                                                                                     Transmittal Number: 22696510
Notice of Service of Process                                                                            Date Processed: 02/02/2021

Primary Contact:           Scarlett May
                           The Cheesecake Factory Incorporated
                           26901 Malibu Hills Rd
                           Calabasas Hills, CA 91301-5354

Electronic copy provided to:                   Kurt Leisure
                                               Kristen Acaya
                                               Joel Shafer
                                               Sidney Greathouse

Entity:                                       The Cheesecake Factory Restaurants, Inc.
                                              Entity ID Number 1595404
Entity Served:                                The Cheesecake Factory Restaurants, Inc
Title of Action:                              Tamara Geathers Webb vs. The Cheesecake Factory Restaurants, Inc.
Matter Name/ID:                               Tamara Geathers Webb vs. The Cheesecake Factory Restaurants, Inc.
                                              (10916548)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Gwinnett County State Court, GA
Case/Reference No:                            21-C-00553-S4
Jurisdiction Served:                          Georgia
Date Served on CSC:                           02/02/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Sarah E. Hendrickson
                                              404-875-0900

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                 Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 9 of 45                            CLERK OF STATE COUF
                                                                                                        GWINNETT COUNTY, GEORGI
                               IN THE STATE COURT OF GWINNETT COUNTY                                               21-C-00553-S
                                                                                                              1/25/2021 1:47 PI

                                                 STATE OF GEORGIA                                  ~          1~
                                                                                                             CLERK OF STATE COUF
Tamara Geathers Webb

                                                                                    CIVIL ACTION
                                                                                                 21-C-00553-S4
                                                                                    NUMBER:

                                     PLAINTIFF


                      vS.
The Cheesecake Factory
Restaurants, Inc.


                                     DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintift's attorney, whose name
and address is:

Sarah E. Hendrickson
Kenneth S. Nugent, P.C.
4227 Pleasant Hill Rd, Building 11
Duluth, GA 30096
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This   25TH                 day of          JANUARY                             20 21


                                                                           Tiana P. Garner,
                                                                           Clerk of State Court


                                                                                                                    `-~
                                                                           By
                                                                                        Deputy

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1Rev. 2011
              Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 10 of 45 E-FILED IN OFFICE - NS
                                                                                                               CLERK OF STATE COURT
                                                                                                           GWINNETT COUNTY, GEORGIA
                        General Civil and Domestic Relations Case Filing Information Form                              21-C-00553-S4
                                                                                                                    1/25/2021 1:47 PM
                                                                             GWINNETT
                           ❑   Superior or ® State Court ofl_~                                Counq

                                                                                                                               'ATEI COURT
       For Clerk Use Only
                                                                      Number21-C-00553-S4
       Date Filed                                              Case
                          ►; ►~ ~ ~ ~~~

Plaintiff(s)                                                      Defendant(s)
Geathers Webb, Tamara                                             The Cheesecake Factory Restaurants, Inc.
Last          First            Middle I.    Suffix    Prefix      Last           First         Middle I.   Suffix     Prefix


Last          First            Middle I.    Suffix    Prefix      Last           First         Middle I.   Suffix     Prefix


Last          First            Middle I.    Suffix    Prefix      Last           First         Middle I.   Suffix     Prefix


Last          First            Middle 1.    Suffix    Prefix      Last           First         Middle I.   Suffix     Prefix

Plaintiff's Attorney Sarah E. Hendrickson                         State Bar Number                    Self-Represented ❑

                      Check one case type and one sub-type in the same box (if a sub-type applies):

       General Civil Cases
                                                                         Domestic Relations Cases
       ❑       Automobile Tort
       ❑       Civil Appeal                                              ❑      Adoption
       ❑       Contempt/Modification/Other                               ❑      Contempt
               Post-Judgment                                                    ❑ Non-payment of child support,
       ❑       Contract                                                         medical support, or alimony,
       ❑       Garnishment                                               ❑      Dissolution/Divorce/Separate
       ®       General Tort                                                     Maintenance/Alimony
       ❑       Habeas Corpus                                             ❑      Family Violence Petition
       ❑       Injunction/Mandamus/Other Writ                            ❑      Modification
       ❑       Landlord/Tenant                                                  ❑ Custody/Parenting Time/Visitation
       ❑                                                                 ❑      Paternity/Legitimation
               Medical Malpractice Tort
       ❑       Product Liability Tort                                    ❑      Support — IV-D
       ❑       Real Property                                             ❑      Support — Private (non-IV-D)
       ❑       Restraining Petition                                      ❑      Other pomestic Relations
       ❑       Other General Civil

❑      Check if the action is related to another action pending or previously pending in this court involving some or all of
       the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                Case Number                                     Case Number

E~J    1 hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
       redaction of personal or confidential information in OCGA § 9-11-7.1.

❑      Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                           Language(s) Required

❑      Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                       Version 1.1.20
               Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 11 of 45 CLERK OF STATE COUF
                                                                                               GWINNETT COUNTY, GEORGI
,
    `                                                                                                   21-C-00553-S
                                                                                                     1/25/202 1:47 PI

                            IN THE STATE COURT OF GWINNETT COUNTY                            ~,L~    ~
                                                                                                    CLERK OF STATE COUF
                                       STATE OF GEORGIA

        TAMARA GEATHERS WEBB,                           .

               Plaintiff,                               .
                                                        .           CIVIL ACTION FILE NO.:
        V.                                              •           21-C-00553-S4

        THE CHEESECAKE FACTORY                          .
        RESTAURANTS, INC.                               .

                       Defendant.                       .

                        PLAINTIFF'S FIRST REQUEST TO ADMIT TO
                 DEFENDANT THE CHEESECAKE FACTORY RESTAURANTS, INC.

               COMES NOW TAMARA GEATHERS WEBB, Plaintiff in the above-styled action, by

        and through her counsel of record, and hereby serves her First Request to Admit upon THE

        CHEESECAKE FACTORY RESTAURANTS, INC., Defendant, and requests that it respond in

        writing and in a timely manner.

                                             REQUEST TO ADMIT

                                                            1.

               Please admit that you were properly served with a copy of the Summons and Complaint

        foY Damages.

                                                         2.

               Please admit that venue is proper in the State Court of Gwinnett County.

                                                            3.

               Please admit that jurisdiction is proper in this case as to this Defendant.

                                                         4.

               Please admit that you are a proper party to this action.
       Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 12 of 45




                                                5.


       Please admit that the incident at issue in this case occurred on June 13, 2019 at the

Cheesecake Factory Restaurant, located at 3393 Peachtree Road NE, Suite 3076A, Atlanta,

Georgia 30326.

                                                :

       Please admit that on the date of the incident at issue in this case you owned the

Cheesecake Factory Restaurant, located at 3393 Peachtree Road NE, Suite 3076A, Atlanta,

Georgia 30326.

                                                7.

       Please admit that on the date of the incident at issue in this case you operated the

Cheesecake Factory Restaurant, located at 3393 Peachtree Road NE, Suite 3076A, Atlanta,

Georgia 30326.

                                                ~;

       Please admit that on the date of the incident at issue in this case you were responsible for

maintaining the premises of the Cheesecake Factory Restaurant, located at 3393 Peachtree Road

NE, Suite 3076A, Atlanta, Georgia 30326.

                                                9.

       Please admit that Plaintiff was exercising due care for her own safety at the time of the

Incident.

                                               10.

       Please admit that Plaintiff did nothing wrong with regard to said Incident.



                                                2
        Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 13 of 45




                                                   11.

        Please admit that Plaintiff was not contributorily negligent in said Incident.

                                                   12.

        Please admit that Plaintiff did not assume the risk of injury with regard to said Incident.

                                                   13.

        Please admit that at the time of the incident described in the Complaint for Damages, the

chair fell, causing the Plaintiff to fall.

                                                   14.

        Please admit that at the time of the incident described in the Complaint for Damages, the

floor was unreasonably slippery, causing the Plaintiff to fall.

                                                   15.

        Please admit that at the time of the incident described in the Complaint for Damages,

Plaintiff's fall resulted in her serious personal injuries.

                                                   16.

        Please admit that the Plaintiff was injured at the premises located at 3393 Peachtree Road

NB, Suite 3076A, Atlanta, Georgia 30326.

                                                   17.

        Please admit that at the time of the incident described in the Complaint for Damages, the

barstools were unstable and unsuitable, or otherwise defective.



        Please admit that the barstool and/or furniture in the waiting room constituted an

unreasonably dangerous condition.

                                                    3
         Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 14 of 45




                                                 19.

        Please admit that you failed to properly maintain and/or monitor your furniture.

                                                20.

        Please admit that you failed to replace your furniture.

                                                21.

        Please admit that you failed to warn Plaintiff about the dangerous and/or hazardous

condition on your property, thereby causing Plaintiff to sustain serious injuries.

                                                22.

        Please admit that your failure to use due care was the proximate cause of the Incident and

Plaintiff's resulting injuries.

                                                23.

        Please admit that you were solely responsible for the Incident.

                                                24.

        Please admit that one of your employees and/or agents witnessed Plaintiff's fall.

                                                25.

        Please admit that one of your employees and/or agents called the emergency services

after Plaintiff's fall.

        Respectf-ully submitted this 22nd day of January, 2021.

                                                       KENNETH S. NUGENT, P.C.

                                                       By:   /s/ Sarah E. Hendrickson
                                                             SARAH E. HENDRICKSON
                                                             Georgia State Bar No.: 873693
                                                             JAN P. COHEN
                                                             Georgia State Bar No.: 174337
                                                             Attorneys for Plaintiff
                                                 2
       Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 15 of 45




4227 Pleasant Hill Road
Building 11
Duluth, Georgia 30096
T: (404) 875-0900
F: (678) 957-8657
shendrickson a,attorneykennugent.com
j cohenA,attorneykennugent.com
               Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 16 of 45
,   r




                                        CERTIFICATE OF SERVICE

               I hereby certify that I have this day served Plaintiff's Request to Admit to Defendant by

        personal service, delivered to the following address:

                          The Cheesecake Factory Restaurants, Inc. Defendant Pro Se
                                    By and through its Registered Agent
                                       Corporation Service Company
                                  40 Technology Parkway South, Suite 300
                                          Norcross, Georgia 30092


               Respectfully submitted this 22°d day of January, 2021.


                                                                KENNETFI S. NUGENT, P.C.

                                                                By:   /s/ Sarah E. Hendrickson
                                                                      SARAH E. HENDRICKSON
                                                                      Georgia State Bar No.: 873693
                                                                      JAN P. COHEN
                                                                      Georgia State Bar No.: 174337
                                                                      Attorneys for Plaintiff
        4227 Pleasant Hill Road
        Building 11
        Duluth, Georgia 30096
        T: (404) 875-0900
        F: (678) 957-8657
        shendrickson a,attorneykennugent.com
        jcohen@attomeykennugent.com




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       Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 17 of 45                    CLERK OF STATE COUF
                                                                                       GWINNETT COUNTY, GEORGI
                                                                                                21-C-00553-S
                                                                                             1/25/2021 1:47 PI

                    IN THE STATE COURT OF GWINNETT COUNTY                                     ~   dv~~
                                                                                             C ERK OF STATE COUF
                               STATE OF GEORGIA

TAMARA GEATHERS WEBB,                          .

       Plaintiff,                              .
                                               .           CIVIL ACTION FILE NO.:
V.                                             •            21-C-00553-S4

THE CHEESECAKE FACTORY                         .
RESTAURANTS, INC.                              .

       Defendant.                              .


      PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
        DEFENDANT THE CHEESECAKE FACTORY RESTAURANTS, INC.

       COMES NOW TAMARA GEATHERS WEBB, Plaintiff in the above-styled action, by

and through her counsel of record, and hereby serves his First Request for Production of

Documents upon THE CHEESECAKE FACTORY RESTAURANTS, INC., Defendant.

Pursuant to O.C.G.A. § 9-11-34, Plaintiff hereby requests that Defendant produce responses to

the requests made herein at 10:00 a.m. on the forty-fifth (45th) day from the date of service of

this request at Kenneth S. Nugent, P.C., 4227 Pleasant Hill Road, Building 11, Duluth, Georgia

30096. The requested documents, recordings, and tangible things described herein shall be

produced on the same date, unless prior arrangements are made to produce these documents at

another date, time, and location, which are mutually agreed to by counsel for the parties.

                                      I. INSTRUCTIONS

       A.      This Request for Production of Documents shall be deemed continuing to the

extent permitted by O.C.G.A. § 9-11-26, so as to require Defendant to serve upon Plaintiff

supplemental responses if Defendant, Defendant's attorneys or any person acting on Defendant's

behalf obtains further documents or information between the time the answers are served and the
            Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 18 of 45




time of trial. Such documents or information shall be furnished to Plaintiff within thirty (30)

days after possession of such information or documents are discovered.

        B.       If you object to part of a Request and refuse to answer that part, state your

objection and answer the remaining portion of that Request. If you object to the scope or time

period of the Request and refuse to answer for that scope or time period, state your objection and

answer the Request for the scope or time period you believe is appropriate.

        C.       If any of the following Requests cannot be responded to in full after exercising

due diligence to secure the information, please so state and answer to the extent possible,

specifying your inability to answer the remainder, and stating whatever information you have

concerning the unanswered portions. If your response is qualified in any manner, please set forth

the details of such qualifications.

        D.       In the event you wish to assert the attorney-client privilege, the work-product

exclusion or any other privilege as to any document requested by any of the following specific

Requests, then as to each document subject to such assertion, you are requested to provide

Plaintiff with an identification of such document in writing, such identification to include: the

nature of the document, the sender, the author, the recipient, the recipient of each copy, the date,

the name of each person to whom each copy or original was circulated, the names appearing on

any circulation list of plaintiffs associated with such document, and a summary statement of the

subject matter of such document in sufficient detail to permit the Court to reach a determination

in the event of a motion to compel, and an indication of the basis for assertion of the privilege or

the like.

        E.       Whenever production is requested of a document which is no longer in the

possession, custody, or control of Defendant, Defendant's response should identify the document



                                                 2
       Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 19 of 45




by name; number, form or description, and by date made, and the date which the document was

most recently in Defendant's possession, custody, or control, the disposition made of the

document, and the identity of the person or persons now in possession, custody or control of such

document. If the document has been lost or destroyed, the response should state the reason for

its loss or destruction and the identity of the person or persons who lost or destroyed the

document and who directed that the document be destroyed.

       F.     It is requested that Defendant organize and label the documents produced

hereunder to correspond with the categories numbered in these Requests.

                                      II. DEFINITIONS

       A.     As used herein, the term "document" whether singular or plural, shall mean

documents and other tangible things defined in the broadest sense permitted by the Georgia Civil

Practice Act, and shall include without limitation, the following items, whether original, master

or copy, printed, recorded, filmed, reproduced by any process, written, or produced by hand, that

are or have been in the possession, control, or custody of Defendant, whether or not claimed to

be privileged against discovery on any grounds, namely: agreements; notes and memoranda;

papers; communications, including intra-company and inter-company communications; letters;

correspondence; cablegrams; radiograms; telegrams; telexes; facsimiles; e-mails; evaluations;

summaries, records and minutes of telephone conversations, meetings or conferences, including

lists of persons in attendance at the conversations, meetings or conferences; summaries and

records of personal conversations or interviews; reports and/or summaries of investigations

and/or surveys; opinions and reports of consultants and experts; reports and summaries of

negotiations; any type of sound or visual production materials, including tape recordings and

film; computer records; computer discs; computer or business machine printouts; computer



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databases; files or programs; medical records; publications; calendars; datebooks; diaries;

journals; charts; compilations; studies; plans; sketches; drawings; maps; photographs; books;

manuals; brochures; pamphlets; catalogs; catalog sheets; advertisements and circulars; trade

letters; press and publicity releases; articles of incorporation; bylaws; minutes of board of

directors meetings; office manuals; employee manuals; company rules and regulations, drafts or

originals; telephone logs or records; calling card billing statements; credit card billing

statements; telephone billing statements; invoices; receipts; expense reports; expense vouchers;

cancellation notices; collection notices; financial statements; bank statements; deposit slips;

checks; ledgers; payroll stubs; paycheck receipts; vouchers; accountant's work papers,

statements, writings, and/or notations of records of ineetings; contracts; promissory notes; leases;

loan agreements; preliminary notes or marginal comments appearing on any document;

stenographic or handwritten notes; every copy where the original is not in the possession,

custody or the control of the party answering these interrogatories; every copy where such copy

is not an identical copy of an original or where such copy contains any commentary or notation

whatsoever that does not appear on the original; other reports and records; any other written

matter, tangible or physical objects, however produced or reproduced, upon which words or

phrases are affixed and from which by appropriate transfixion such matter or tangible thing may

be produced, that are in the possession, custody or control of either Defendant or Defendant's

agents, attorneys, or representatives.

       B.      As used herein, the term "Plaintiff' is intended to and shall designate TAMARA

GEATHERS WEBB.

       C.      As used herein, the terms "Defendant," "you," and/or "your" shall mean or refer

to THE CHEESECAKE FACTORY RESTAURANTS, INC., and Defendant's consultants,



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agents, representatives, attorneys, investigators, and any others acting for or on behalf of

Defendant.

       D.      As used herein, the term "person" shall include, without limitation, an individual,

natural person, firm, partnership, corporation, proprietorship, association, union, governmental

body, or any other organization or entity.

       E.      The singular, plural, masculine, feminine, or neuter form of any noun or pronoun

shall be read and be applied as including its other forms, as circumstances may make

appropnate.

       F.      As used herein, the terms "and" and "or" shall mean and/or.

       G.      As used herein, the term "date" shall mean the exact day, month, and year, if

ascertainable, or, if not, the best approximation, including relationship to other events.

       H.      As used herein, the terms "specify," "identify," or "describe" in addition to any

meaning given within an Interrogatory, when used in reference to:

               (1)     An individual shall mean to state his or her full name, present or last

       known business and residence address (designating which) and business and residence

       telephone numbers (designating which), the name and address of his or her employer and

       his or her relationship to Defendant.

               (2)     A firm, partnership, corporation, proprietorship, association, or other

       organization or entity shall mean to state its full name and present or last known address

       and telephone numbers (designate which) and the legal form of such entity or

       organization.

               (3)     An act, action or omission shall mean to state a description of the act, the

       date(s) on which it occurred, where it occurred, the identity of the person or persons



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          performing said act (or, in the case of an omission, the person or persons failing to act),

          the identity of all persons who have knowledge, information, or belief about the act,

          when the act or omission first became known to you, and the circumstances and manner

          in which you first obtained such knowledge.

                    (4)     A communication shall mean to state the date, location, and nature of the

          communication, the identity of the communicator and communicatee, the subject matter

          and substance of the communication, whether it was recorded or otherwise memorialized,

          and the identity of any witnesses thereto and identify any documents memorializing or

          constituting the communication, and, if the communication was by telephone, the

          telephone number from which the communication originated and the telephone number

          called.

          I.        As used herein, "Complaint for Damages" means the complaint Plaintiff filed to

initiate this action, as well as any amended complaint(s) Plaintiff has filed or may file in this

action.

          J.        As used herein, the "Incident" shall refer to the Incident giving rise to the

Plaintiff s Complaint foY Damages.

                          III. REOUEST FOR PRODUCTION OF DOCUMENTS

                                                    1.

          All statements identified in response to Plaintiff s Interrogatory No. 4.

                                                    2.

          All reports identified in response to Plaintiffs Interrogatory No. 5.

                                                    3.

          All investigation files and reports identified in response to Plaintiffs Interrogatory Nos. 6



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or 7.

                                                 4.

        All surveillance videotapes or digital recordings which recorded any events at the

Cheesecake Factory Restaurant located at 3393 Peachtree Road NE, Suite 3076A, Atlanta,

Georgia 30326 on the date of the Incident.

                                                 5.

        Any and all photographs and/or videotapes or digital recordings which recorded any

portion of the Incident complained of or any events in the thirty minutes before or thirty minutes

after the Incident.

                                                 6.

        Any CV, reports, or records provided to you by any expert witness identified in response

to Plaintiff's Interrogatory No. 10. Please also produce all materials relied upon by each expert in

formulating his or her opinions and conclusions and any correspondence, whether written or

electronic, exchanged between you, or anyone acting on your behalf, and each expert.

                                                 7.

        Any CV, reports, or records provided to you by any expert witness identified in response

to Plaintiff's Interrogatory No. 11. Please also produce all materials relied upon by each expert in

formulating his or her opinions and conclusions and any correspondence, whether written or

electronic, exchanged between you, or anyone acting on your behalf, and each expert.



        The last known contact information, including telephone numbers and home addresses,

for any witnesses or employee(s) identified in your response to Plaintiff's Interrogatories and any

written or recorded statements made by or taken of such witness or employee(s) as a result of the



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Incident at issue.

                                                  9.

          All records, documents, and video which reflect, record, document, or relate to any

inspection or maintenance of the area where Plaintiff's fall occurred on the date of the Incident.

                                                 10.

          All documents and things, including, but not limited to, employees handbooks, training

manuals, policy manuals, videotapes, CD-ROMs, DVDs, bulletins, or memoranda, which

contain the Defendant's policy for the periodic inspection or maintenance of the patron

accessible areas of the store at issue, specifically including, but not limited to, the area where

Plaintiff fell.

                                                 11.

          Any and all photographs, videos, sketches, transparencies, and/or drawings of any person,

party, scene, or any other object or thing relative to the Incident giving rise to this action and/or

the claims asserted in Plaintiff's Complaint foY Damages.

                                                 12.

          All reports of any type, which have not otherwise been produced in response to these

Requests, concerning the Incident, including any reports that were prepared by you or on your

behalf.

                                                 13.

          All surveillance movies or photographs that have been made that contain, include, or

pertain to the Plaintiff.




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                                                  14.

          Any and all insurance agreements, contracts, and/or policies under which any insurance

company or other insurer may be liable to satisfy part or all of any judgment which may be

entered in this action or may be liable to indemnify or reimburse for payments made to satisfy

the judgment, including but not limited to any liability insurance or umbrella policy.

                                                 15.

          All documents identified in response to Plaintiff's First Interrogatories which have not

already been produced in response to the preceding requests.

                                                 16.

          All documents and tangible things which you contend support any defense you have

raised.

                                                 17.

          All documents and things, including, but not limited to, employees' handbooks, training

manuals, policy manuals, videotapes, CD-ROMs, DVDs, bulletins, or memoranda, which

contain the Defendant's policy for the periodic inspection, cleaning, or maintenance of the area

where the Incident occurred.

                                                 18.

          All documents, photographs, videotapes or drawings identified in response to Plaintiff's

Interrogatory No. 24.

                                                 19.

          Any and all documents, statements, bills, medical records, notes conceming Plaintiff's


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medical care on the date of the Incident.

                                               20.


       Any and all documents identified in response to Plaintiff s Interrogatory Nos. 25 and 26.

                                               21.

       Any and all documents identified in response to Plaintiffs Interrogatory Nos. 29 and 30.

                                               22.

       Any and all documents identified in response to Plaintiffs Interrogatory No. 31.



       Respectfully submitted this 22°d day of January, 2021.


                                                     KENNETH S. NUGENT, P.C.

                                                     By:   /s/ Sarah E. Hendrickson
                                                           SARAH E. HENDRICKSON
                                                           Georgia State Bar No.: 873693
                                                           JAN P. COHEN
                                                           Georgia State Bar No.: 174337
                                                           Attorneys for Plaintiff
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shendrickson a,attorne k~gent.com
jcohen@attomeykennugent.com
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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day served Plaintiff's Request for Production of

Documents to Defendant by personal service, delivered to the following address:

                 The Cheesecake Factory Restaurants, Inc. Defendant Pro Se
                            By and through its Registered Agent
                              CoYporation Ser-vice Company
                         40 Technology Parkway South, Suite 300
                                 Norcross, Georgia 30092


       Respectfully submitted this 22°d day of January, 2021.


                                                   KENNETH S. NUGENT, P.C.

                                                   LO-A   /s/Sarah E. Hendrickson
                                                          SARAH E. HENDRICKSON
                                                          Georgia State Bar No.: 873693
                                                          JAN P. COHEN
                                                          Georgia State Bar No.: 174337
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4227 Pleasant Hill Road
Building 11
Duluth, Georgia 30096
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jcohen a,attorneykennugent.com




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       Case 1:21-cv-00923-MHC Document 1-1 Filed 03/04/21 Page 28 of 45                  CLERK OF STATE COUF
                                                                                     GWINNETT COUNTY, GEORGI
                                                                                              21-C-00553-S
                                                                                          1/25/2021 1:47 PI

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA
                                                                                 ~,{,~    ~   414~
                                                                                         CLERK OF STATE COUF



TAMARA GEATHERS WEBB,                           .

       Plaintiff,                              .
                                               .         CIVIL ACTION FILE NO.: 21-C-00553-S4
V.                                             .

THE CHEESECAKE FACTORY                          .
RESTAURANTS, INC.                               .

       Defenclant.                              .

                PLAINTIFF'S FIRST INTERROGATORIES TO
         DEFENDANT THE CHEESECAKE FACTORY RESTAURANTS, INC.

       COMES NOW TAMARA GEATHERS WEBB, Plaintiff in the above-styled action, by

and through her counsel of record, and hereby serves her First Interrogatories upon THE

CHEESECAKE FACTORY RESTAURANTS, INC. Defendant. These Interrogatories are to be

answered upon oath, and the responses are to be served upon the undersigned counsel within

forty-five days (45) from the date of service by mail.

                                       I. INSTRUCTIONS

       A.      When used in these Interrogatories, the term Defendant or any synonym thereof is

intended to and shall embrace and include, in addition to Defendant, all agents, servants,

representatives, private investigators and others who may have obtained information for or on

behalf of Defendant.

       B.      These Interrogatories shall be deemed continuing to the extent permitted by

O.C.G.A. § 9-11-26, so as to require Defendant to serve upon Plaintiff supplemental responses if

Defendant, Defendant's attorneys, or any person acting on Defendant's behalf obtains further

documents or information between the time the answers are served and the time of trial. Such

supplemental responses are to be filed and served upon Plaintiff within thirty (30) days after
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receipt of such documents or information.

        C.      In answering these Interrogatories, furnish all information available to you,

including information in the possession of your attorneys or their investigators, and all persons

acting on your behalf, and not merely such information known of your own personal knowledge.

        D.      If you object to a part of any Interrogatory and refuse to answer that part, state

your objection and answer the remaining portion of that Interrogatory. If you object to the scope

or time period of an Interrogatory and refuse to answer for that scope or time period, state your

objection and answer the Interrogatory for the scope or time period you believe is appropriate.

        E.      If any of the Interrogatories cannot be answered in full after exercising due

diligence to secure the information, please so state and answer to the extent possible, specifying

your inability to answer the remainder, and stating whatever information you have concerning

the unanswered portions. If your response is qualified in any manner, please set forth the details

of such qualifications.

        F.      In the event you wish to assert attorney-client privilege, work product exclusion

or any other privilege, as to any information, knowledge or fact requested by any of the

following Interrogatories, then as to each such Interrogatory subject to such assertion, you are

requested to provide Plaintiff with an identification of such claimed privileged information,

knowledge or fact in sufficient detail to permit the Court to reach a determination as to the

asserted privilege in the event of a motion to compel, and an indication of the basis for assertion

of privilege or the like.

                                       II. DEFINITIONS

        A.      As used herein, the term "document" whether singular or plural, shall mean

documents and other tangible things defined in the broadest sense permitted by the Georgia Civil



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Practice Act, and shall include without limitation, the following items, whether original, master

or copy, printed, recorded, filmed, reproduced by any process, written, or produced by hand, that

are or have been in the possession, control or custody of Defendant, whether or not claimed to be

privileged against discovery on any grounds, namely: agreements; notes and memoranda; papers;

communications,     including intra-company and inter-company communications;                letters;

correspondence; cablegrams; radiograms; telegrams; telexes; facsimiles; e-mails; evaluations;

summaries, records and minutes of telephone conversations, meetings or conferences, including

lists of persons in attendance at the conversations, meetings or conferences; summaries and

records of personal conversations or interviews; reports and/or summaries of investigations

and/or surveys; opinions and reports of consultants and experts; reports and summaries of

negotiations; any type of sound or visual production materials, including tape recordings and

film; computer records; computer discs; computer or business machine printouts; computer

databases; files or programs; medical records; publications; calendars; datebooks; diaries;

journals; charts; compilations; studies; plans; sketches; drawings; maps; photographs; books;

manuals; brochures; pamphlets; catalogs; catalog sheets; advertisements and circulars; trade

letters; press and publicity releases; articles of incorporation; bylaws; minutes of board of

directors meetings; office manuals; employee manuals; company rules and regtilations, drafts or

originals; telephone logs or records; calling card billing statements; credit card billing

statements; telephone billing statements; invoices; receipts; expense reports; expense vouchers;

cancellation notices; collection notices; financial statements; bank statements; deposit slips;

checks; ledgers; payroll stubs; paycheck receipts; vouchers; accountant's work papers,

statements, writings, and/or notations of records of ineetings; contracts; promissory notes; leases;

loan agreements; preliminary notes or marginal comments appearing on any document;



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stenographic or handwritten notes; every copy where the original is not in the possession,

custody or the control of the party answering these interrogatories; every copy where such copy

is not an identical copy of an original or where such copy contains any commentary or notation

whatsoever that does not appear on the original; other reports and records; any other written

matter, tangible or physical objects, however produced or reproduced, upon which words or

phrases are affixed and from which by appropriate transfixion such matter or tangible thing may

be produced, that are in the possession, custody or control of either Defendant or Defendant's

agents, attorneys, or representatives.

       B.      As used herein, the term "Plaintiff' is intended to and shall designate TAMARA

GEATHERS WEBB.

       C.      As used herein, the terms "Defendant," "you," and/or "your" shall mean or refer

to THE CHEESECAKE FACTORY RESTAURANTS, INC., and Defendant's consultants,

agents, representatives, attorneys, investigators, and any others acting for or on behalf of

Defendant.

       D.      As used herein, the term "person" shall include, without limitation, an individual,

natural person, firm, partnership, corporation, proprietorship, association, union, governmental

body, or any other organization or entity.

       E.      The singular, plural, masculine, feminine, or neuter form of any noun or pronoun

shall be read and be applied as including its other forms, as circumstances may make

appropriate.

       F.      As used herein, the terms "and" and "or" shall mean and/or.

       G.      As used herein, the term "date" shall mean the exact day, month and year, if

ascertainable, or, if not, the best approximation, including relationship to other events.



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       H.        As used herein, the terms "specify," "identify," or "describe" in addition to any

meaning given within an interrogatory, when used in reference to:

                 (1)    An individual shall mean to state his or her full name, present or last

       known business and residence address (designating which) and business and residence

       telephone numbers (designating which), the name and address of his or her employer and

       his or her relationship to Defendant.

                 (2)    A firm, partnership, corporation, proprietorship, association or other

       organization or entity shall mean to state its full name and present or last known address

       and telephone numbers (designate which) and the legal form of such entity or

       organization.

                 (3)    An act, action or omission shall mean to state a description of the act, the

       date(s) on which it occurred, where it occurred, the identity of the person or persons

       performing said act (or, in the case of an omission, the person or persons failing to act),

       the identity of all persons who have knowledge, information or belief about the act, when

       the act or omission first became known to you, and the circumstances and manner in

       which you first obtained such knowledge.

                 (4)    A communication shall mean to state the date, location, and nature of the

       communication, the identity of the communicator and communicatee, the subject matter

       and substance of the communication, whether it was recorded or otherwise memorialized,

       and the identity of any witnesses thereto and identify any documents memorializing or

       constituting the communication and if the communication was by telephone, the

       telephone number from which the communication originated and the telephone number

       called.



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          I.     As used herein, "Complaint for Damages" means the complaint Plaintiff filed to

initiate this action, as well as any amended complaint(s) Plaintiff has filed or may file in this

action.

          J.     As used herein, the "Incident" shall refer to the Incident giving rise to the

Plaintiff s Complaint for Damages.

                                      III. INTERROGATORIES

                                                     1.

          Please state the name, address, and telephone number of each individual:

          (a)    Who witnessed the Incident or the events occurring immediately before or after

the Incident;

          (b)    Who heard any statements made about the Incident by any individual at the scene;

          (c)    Who you or anyone acting on your behalf claims to have knowledge of the

Incident; and

          (d)    Who you or anyone acting on your behalf claims to have knowledge of the

Plaintiffs damages arising out of the Incident.

                                                     2.

          For each of your employees physically present at the time and place of the Incident,

please state:

          (a)    His or her name, address and telephone number;

          (b)    Job title as of date of Incident;

          (c)    Whether she or he was on duty at the time of the Incident;

          (d)    The job or function she or he was performing at the time of the Incident; and

          (e)    Whether she or he is presently employed with the Defendant.



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                                                  3.

         Have you or anyone acting on your behalf interviewed any individual concerning the

Incident? If so, for each individual, please state:

         (a)    The name, address, and telephone number of the individual interviewed;

         (b)    The date of the interview; and

         (c)    The name, address, and telephone number of the person who conducted the

interview.

                                                  4.

         Have you or anyone acting on your behalf obtained a written or recorded statement from

any individual, including the Plaintiff, concerning the Incident? If so, for each statement, please

state:

         (a)    The name, address, and telephone number of the individual from whom the

statement was obtained;

         (b)    The name, address, and telephone number of the individual who obtained the

statement;

         (c)    The date the statement was obtained; and

         (d)    The name, address, and telephone number of each person who has the original

statement or a copy.

                                                 5.

         Does the Defendant have the original or a copy of any accident or incident reports

prepared by Plaintiff or any person employed by Defendant or any person acting on Defendant's

behalf pertaining to the Incident alleged in the Complaint for Damages? If so, please state:

         (a)   The company form name or number;



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        (b)     The date of any such report;

        (c)     The name of the person who completed such report; and

        (d)     Whether or not Plaintiff was given a copy of said report.

                                                 6.

        Please state whether any investigations or other reports were prepared, compiled,

submitted, or made by or on behalf of the Defendant in the regular course of business as a result

of this Incident.

                                                 7.

        If the answer to the foregoing Interrogatory is in the affirmative, please enumerate and

identify the investigations or reports by:

        (a)     Date;

       (b)      Subj ect matter;

       (c)      Name, address, and job classifications of the person or persons making or

rendering same;

       (d)     Name and address of the person or persons to whom directed the investigations or

reports to be made;

       (e)      The name, address, and present whereabouts of the person who has present

custody andlor control of any reports or investigation files, whether written or electronic; and

       (f)     The purpose of such investigation or report.

                                                 8.

       Please state whether or not a surveillance video camera was operating on the premises at

the time of the Incident which forms the subject matter of Plaintiff's Complaint for Damages. If

your answer is yes, please state:
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       (a)     Whether any such camera(s) was(were) actually operational and in use at the time

of the Incident;

       (b)         Whether the camera(s) recorded any inspections performed of the premises on the

date of the Incident;

       (c)      Whether the camera(s) recorded any portion of the Incident complained of or any

events in the thirty minutes before or thirty minutes after the Incident;

       (d)         The present location of any videotape or digital recording which recorded any

inspections actually performed on the date of the Incident, any portion of the Incident

complained of, or any events in the thirty minutes before or thirty minutes after the Incident; and

       (e)      Your policy for retaining and maintaining videotapes or digital recordings of

injuries which occur on your premises.

                                                  a
       As to the area where Plaintiff's Incident occurred, please state:

       (a)     The name(s) and address(es) of the person(s) who was (were) charged with the

responsibility of maintaining that area on the date of the Incident;

       (b)     The complete name(s) and address(es) of the person(s) who was (were) charged

with the responsibility of inspecting that area on the date of the Incident;

       (c)     The complete name and address of the entity who employed the person(s)

identified in subparts (a) and (b) above;

       (d)     If said person(s) is employed by an entity other than the Defendant, the nature of

said entity's relationship to the Defendant (i.e. landlord, subsidiary, independent contractor, etc.);

       (e)     Identify all documents which record, document, or relate to the duties and

responsibilities for the inspection or maintaining of that area on the date of the Incident; and



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       (f)       Identify all documents or video which record or document any actual inspection

or maintaining of that area on the date of the Incident.

                                                  10.

       Please identify any person that this Defendant expects to call as an expert witness,

whether live, by affidavit, or by deposition, in connection with any trial, hearing, or motion, as

well as any other evidentiary hearing in this action, and, separately for each expert:

       (a)       Describe his/her qualifications as an expert;

       (b)       State the subject matter upon which s/he is expected to testify;

       (c)       State his/her opinions and include a summary of the grounds for each opinion;

       (d)       Identify all documents which have been exchanged with each witness, including

reports and billing statements and payments;

       (e)       Describe the financial arrangements with the expert;

       (f)       Identify by caption, court, and name of attorneys representing the Plaintiff(s) and

Defendant(s) in all actions in which the expert has provided testimony in the five years preceding

your response;

       (g)    Identify all documents your expert reviewed, considered or relied upon in any way

in forming his/her opinions; and,

       (h)       Identify all documents (including, but not limited to, videotapes and photographs)

prepared by each witness which relate to the subject matter of this lawsuit.

                                                  11.

       Please state the name and address of any witness or expert who is known to you who

might have any information or opinion concerning any matter which may be involved in the

within lawsuit, including, but not limited to any expert with whom you have discussed any



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matter relating to this case, whether or not such person is, or is not, expected to be called as a

witness at trial.

                                                  12.

        Please identify each insurance policy or policies which would be or may be used to

satisfy or indemnify part or all of the judgment which may be entered in this case, including:

        (a)     The writer of said policy or policies;

        (b)     The local agent or representative who sold said policy or policies;

        (c)     The policy number or numbers;

        (d)     The policy coverage limits; and

        (e)     The named insured or insureds.

                                                  13.

        Please state whether or not there was any excess liability or "umbrella" insurance policy

in effect as of the date of the Incident which would be or may be used to satisfy or indemnify

part or all of the judgment which may be entered in this case, including:

        (a)     The writer of said policy or policies;

        (b)     The local agent or representative who sold said policy or policies;

        (c)     The policy number or numbers;

        (d)     The policy coverage limits; and

        (e)     The named insured or insureds.

                                                  14.

        Please state if any insurer referred to above denied coverage or reserved its right to later

deny coverage under any such policy of liability insurance? If so, please explain.




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                                                  15.

        Please identify each staff inember of the subject Restaurant, who was on duty on the date

of the Incident, including:

        (a)     His or her name, address and telephone number;

        (b)     The beginning and ending times of each staff inember's shift; and

        (c)     Whether each staff inember is presently employed with the Defendant. (If any

such staff inember is no longer employed by Defendant, please state his or her last known

address and telephone number.)

                                                  16.

        Was the area where the Incident occurred marked with a caution sign of any sort, either

before or after Plaintiff's fall? If so, please describe the sign and state:

       (a)      When the sign was placed;

       (b)      Where it was placed;

       (c)      The specific reason for placing the sign;

       (d)     The name and current contact information of the employee who requested the sign

to be placed and the employee who placed the sign.

                                                  17.

       Have any changes or modifications been made to the area of the premises where the

Incident occurred since the date of the Incident. If so, please state:

        (a)    A description of the nature of each repair and/or replacement and/or alteration;

        (b)    The date of the modifications;

        (c)    The name, title and address of each person, department, company and/or agency


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who repaired and/or altered and/or replaced such items; and

        (d)    Whether the modifications were made as a result of this Incident or any similar

incidents.

                                                   :

       Please identify every act or event that supports each and every affirmative defense you

have raised.

                                                 19.

       Please identify any person, business, or entity you claim is a necessary party to this action

or may have any liability to Plaintiff for the Incident.

                                                 20.

       Please identify any party you contend is an improper party to this action, and state any

facts you allege support any such contention.

                                                 21.

       Please describe in detail how the incident occurred, giving all facts concerning the details

of the events before, at the time of, and after the Incident, which you believe contributed to the

Incident.

                                                 22.

       Please describe in detail any conversations that your employees or agents had with

Plaintiff before and after the Incident.

                                                 23.

       Please identify if any person called the emergency services after the Plaintiff's fall.

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                                                  24.

        Please identify if you have any knowledge of any photographs, videotapes or drawings of

the scene of the Incident, the Plaintiff or Plaintiff's injuries. If applicable, please describe such

photographs, videotapes or drawings and give the name and address of the person having

custody and control thereof.

                                                  25.

        Please identify any and all incidents that occurred on the premises of the subject

Restaurant in the past ten (10) years. If applicable, please state:

        (a)     Date of any such incident;

       (b)      Name, address and telephone number of any injured person;

       (c)      A brief description of the incident, including the type of furniture or surface on

which the person involved in such incident slipped and/or fell;

       (d)      A brief description of the injuries suffered by any person involved in each such

incident; and

       (e)      Whether any such incident resulted in a claim and/or lawsuit, and if so, the name

of each claimant, date of filing of each such claim and/or lawsuit, the civil number, if any, and a

summary of the disposition of each such claim or lawsuit.

                                                   26.

       Please state whether there been any incidents involving falls on the premises of the

subject Restaurant in the past ten (10) years. If applicable, please state:

       (a)      Date of any such incident;


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        (b)    Name, address and telephone number of any injured person;

        (c)    A brief description of the incident, including the type of furniture or surface on

which the person involved in such incident slipped and/or fell;

       (d)     A brief description of the injuries suffered by any person involved in each such

incident;

       (e)     Whether any such incident resulted in a claim and/or lawsuit, and if so, the name

of each claimant, date of filing of each such claim and/or lawsuit, the civil number, if any, and a

summary of the disposition of each such claim or lawsuit.

                                                27.

       Were there any contracts or agreements with other individuals or entities regarding the

cleaning, maintenance or inspection of the premises where the Plaintiff fell as described in the

Complaint for Damages? If so, please state:

       (a)     The identity of the contracting parties;

       (b)     The address and telephone number of the contracting parties;

       (c)     The duties of the contracting parties.

                                                28.

       Have there been any audits, inspections or evaluations of the area where the Plaintiff fell

for the past five years?


                                                29.

       Please identify the barstools and any furniture that Defendant used on its premises in the

bar area, including:

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        (a)      The date when such barstools and furniture were first purchased;

        (b)      The name, title and address of each person, department, company and/or agency

who supplied such barstools or furniture;

        (c)     Any and all information or documents describing the weight-bearing capacity of

such barstools or furniture; and

        (d)     How often such barstools or furniture was replaced and the last date when said

barstools and furniture were replaced.

                                                30.

        Have there been any complaints in regards to the barstools of the subject premises? If so,

please state:

        (a)     The date of such complaint and/or report;

        (b)     Whether or not you have or maintained any documentary material of any kind or

nature relating or referring to such complaints and/or reports;

        (c)     What action, if any, was taken by Defendant and/or its employees or agents with

respect to such complaint and/or report.

                                                31.

        Have there been any complaints in regards to the slippery floor of the subject premises?

If so, please state:

        (a)     The date of such complaint and/or report;

        (b)     Whether or not you have or maintained any documentary material of any kind or

nature relating or referring to such complaints and/or reports;


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       (c)     What action, if any, was taken by Defendant and/or its employees or agents with

respect to such complaint and/or report.



       Respectfully submitted this 22°d day of January, 2021.


                                                   KENNETH S. NUGENT, P.C.

                                                   By:     /s/Sarah E. Hendrickson
                                                           SARAH E. HENDRICKSON
                                                           Georgia State Bar No.: 873693
                                                           JAN P. COHEN
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served Plaintiff's InterrogatoYies to Defendant by

personal service, delivered to the following address:

                  The Cheesecake Factory Restaurants, Inc. Defendant Pro Se
                            By and through its Registered Agent
                               CoNporation Service Company
                          40 Technology Parkway South, Suite 300
                                  Norcross, Georgia 30092


       Respectfully submitted this 22°a day of January, 2021.


                                                        KENNETH S. NUGENT, P.C.

                                                        By:   /s/Sarah E. Hendrickson
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                                                              Georgia State Bar No.: 873693
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